     2:21-cv-00042-RMG        Date Filed 01/06/21     Entry Number 1    Page 1 of 61




                           UNITED STATES DISTRICT COURT

                            DISTRICT OF SOUTH CAROLINA

                                 CHARLESTON DIVISION


COMMISSIONERS OF PUBLIC WORKS OF )                Civil Action No. 2:21-cv-42-RMG
THE CITY OF CHARLESTON (d.b.a.                )
Charleston Water System), Individually and on )   CLASS ACTION COMPLAINT
Behalf of All Others Similarly Situated,      )
                                              )
                              Plaintiff,      )
                                              )
       vs.                                    )
                                              )
COSTCO WHOLESALE CORPORATION, )
CVS HEALTH CORPORATION,                       )
KIMBERLY-CLARK CORPORATION, THE )
                                                  JURY TRIAL DEMANDED
PROCTER & GAMBLE COMPANY,                     )
TARGET CORPORATION, WALGREENS )
BOOTS ALLIANCE, INC. and WAL-MART, )
INC.,                                         )
                                              )
                              Defendants.
                                              )
                                              )
      2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 2 of 61




       The Commissioners of Public Works of the City of Charleston (d.b.a. “Charleston Water

System”) (“Plaintiff”) brings this action on behalf of itself and all other similarly situated entities

that own and/or operate sewage or wastewater conveyance and treatment systems, including

municipalities, authorities, and wastewater districts (collectively, “STP Operators”), and alleges

upon information and belief, formed after an inquiry reasonable under the circumstances, except

as to those allegations which pertain to the named Plaintiff (which are alleged on personal

knowledge), as follows:

                                   NATURE OF THE ACTION

       1.      Plaintiff brings this class action against defendants Costco Wholesale Corporation

(“Costco”), CVS Health Corporation (“CVS”), Kimberly-Clark Corporation (“Kimberly-Clark”),

The Procter & Gamble Company (“Procter & Gamble”), Target Corporation (“Target”),

Walgreens Boots Alliance, Inc. (“Walgreens”) and Wal-Mart, Inc. (“Wal-Mart”) (collectively,

“Defendants”) to seek relief from recurring damage caused by Defendants’ deceptive, improper or

unlawful conduct in the design, marketing, manufacturing, distribution and/or sale of wipes labeled

as “flushable.” Purportedly flushable wipes (referred to herein as “Flushable Wipes”) include all

moist wipe products marketed and labeled as safe to flush, safe for plumbing, safe for sewer

systems, and/or biodegradable.

       2.      The term “flushable” is commonly defined and understood to mean suitable for

disposal by flushing down a toilet. For example, “flushability” is defined as: disperses in a

sufficiently short amount of time after flushing to avoid clogging, or other operational problems

in, household and municipal sewage lines, septic systems, and other standard wastewater

equipment.

       3.      To be suitable for flushing, an item needs to be able to disintegrate into smaller

pieces rapidly enough to pass through sewer systems and be appropriate for treatment.


                                                 -1-
     2:21-cv-00042-RMG            Date Filed 01/06/21    Entry Number 1       Page 3 of 61




       4.         Toilet paper has historically been considered the benchmark for flushability

because it begins to break apart upon contact with water. Its small enough pieces pass through

sewer and septic systems without causing clogs. Flushable Wipes, on the other hand, do not

perform as advertised or marketed. As a result, they do not disintegrate as effectively as toilet

paper and can comingle to cause clogs and treatment problems, making them costly and difficult

to manually remove. Flushable Wipes should not be labeled as “flushable” or safe for sewer or

septic systems.

       5.         Because Flushable Wipes are not in fact suitable for flushing, they have caused

countless clogs and damage to Plaintiff, STP Operators, and consumers alike. Clogged sewer lines

can also lead to other problems, such as causing spills to flow onto public and private property as

well as into lakes, rivers, and oceans, where they can harm public health and the environment. The

Environmental Protection Agency has taken the stance that the public should not flush any type of

wipe.1 Local municipalities and governments spend millions of dollars a year to address and

remediate sewer systems and repair plant equipment that has been damaged by “non-flushable

items (like wet wipes)” and has warned, “[w]hen wipes and other stuff aren’t busy making fatbergs

in our sewers, they are wreaking havoc on our wastewater treatment plants! These materials don’t

break down in the sewer system like toilet paper, so they arrive at our plants jamming mechanisms,

clogging pumps, and breaking critical machinery.”2




1
        United States Environmental Protection Agency, Is it okay to flush disinfecting wipes?,
https://www.epa.gov/coronavirus/it-okay-flush-disinfecting-wipes (last visited Dec. 31, 2020).
Unless otherwise noted, internal citations are omitted and emphasis is added throughout.
2
       City of New York, Trash it. Don’t Flush it., https://www1.nyc.gov/site/dep/whats-
new/trash-it-dont-flush-it.page?utm_source=FB&fbclid=
IwAR39RXn1VE6ku-dzLbfdqZXa0uE5scaO_-CIZrPR-PETTvxw5ffpw8kEcyA (last visited
Dec. 31, 2020).

                                                -2-
      2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 4 of 61




       6.      In response to the associated costs, municipalities, wastewater districts, and

organizations throughout the country and abroad have attempted to increase public awareness of

the harmful effects of Flushable Wipes, and their message is further supported by a growing body

of empirical evidence indicating that Flushable Wipes are not suitable for flushing. Defendants,

however, continue to push a contradictory message. Despite knowledge of the massive damage

and costs caused by Flushable Wipes, Defendants continue to falsely market, advertise, label,

and/or sell Flushable Wipes as suitable for flushing, intending for consumers to use the product

accordingly and for the product to continue to enter Plaintiff’s and other STP Operators’ sewer

and septic systems.

       7.      Absent Defendants’ actions and marketing tactics, Flushable Wipes would not be

discarded in toilets and, in turn, would not damage, clog, and/or disrupt pump stations, lift stations,

sewer lines and/or wastewater treatment plants’ systems. As long as Defendants continue to claim

that Flushable Wipes are “flushable,” consumers will continue to use them in accordance with

Defendants’ instructions and many may never realize the property damage and risks to public

health and the environment caused by flushing Flushable Wipes.

       8.      Through the ordinary and directed use of Defendants’ Flushable Wipes, Plaintiff

and other STP Operators experienced and will continue to experience clogging and other

disruption of their sewage or wastewater treatment plants, pump stations, lift stations, and/or sewer

lines due to consumers flushing Flushable Wipes as directed by Defendants. Flushable Wipes will

continue to create excessive maintenance and repair-related expenses borne by STP Operators, and




                                                 -3-
      2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 5 of 61




ultimately, the public. Wet wipes are costing an estimated “billions of dollars a year in worldwide

maintenance”3 and there is no end in sight.

       9.      For the reasons detailed herein, Defendants’ conduct constitutes nuisance, trespass,

negligence, strict products liability for defective design and failure to warn, breach of express and

implied warranties, fraudulent misrepresentation, and negligent misrepresentation.

                                          THE PARTIES

Plaintiff

       10.     Plaintiff Commissioners of Public Works of the City of Charleston (doing business

as Charleston Water System) is a corporate body politic formed pursuant to the South Carolina

Code of Laws, Sections 5-31-210, -220, and -250. It has its principal place of business at 103 St.

Philip Street, Charleston, South Carolina 29403. Plaintiff is, and was at all relevant times, a public

water and wastewater utility providing clean water and sewer services to the Greater Charleston

area. Plaintiff provides water service through its Hanahan Water Treatment Plant, which produces

high quality drinking water delivered to customers through 1,800 miles of water mains. Plaintiff

provides sewer service through 800 miles of collection mains, over 209 pump stations, and 12

miles of deep tunnels that carry wastewater to Plaintiff’s Plum Island Wastewater Treatment Plant.

The Plum Island plant treats an average of 25 million gallons a day and discharges that highly

treated water into Charleston harbor. Plaintiff is committed to protecting public health and the

environment, and maintaining reliable sewer services is integral to that goal. Plaintiff has been

and will continue to be burdened with unnecessary expenses in connection with repairs,

maintenance and/or other damage to its sewage treatment plants caused by Defendants’ design,




3
       Matt Kessler, Are Wet Wipes Wrecking the World’s Sewers?, THE ATLANTIC (Oct. 14,
2016),       https://www.theatlantic.com/science/archive/2016/10/are-wet-wipes-wrecking-the-
worlds- sewers/504098/.

                                                -4-
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1      Page 6 of 61




distribution, manufacture, marketing and/or sale of Flushable Wipes. Defendants’ Flushable

Wipes have caused sewer overflows (which put Plaintiff in violation of its federal and state

sewerage permits), necessitated increased maintenance of Plaintiffs’ sewer system, damaged the

system, and interfered with the treatment of wastewater at the Plum Island facility.


Defendants

       11.     The Defendants listed in the following paragraphs design, manufacture, market,

distribute and/or sell (directly or indirectly) wipes products labeled as being “flushable.” These

Flushable Wipes have caused clogging and other damage to Plaintiff’s and Class members’ sewer

systems. Flushable Wipes manufactured and/or sold by Defendants are widely available for sale

in and around the City of Charleston, in South Carolina and throughout the United States, and

dominate the market for such products.

       12.     Defendant Costco is a Washington corporation headquartered in Issaquah,

Washington. Together with its subsidiaries, Costco operates membership warehouses. The

company offers branded and private-label products in a range of merchandise categories, including

Kirkland Signature, its generic line, under which Costco manufactures through third parties and

sells Kirkland Signature Moist Flushable Wipes.

       13.     Defendant CVS is a Delaware corporation headquartered in Woonsocket, Rhode

Island. Together with its subsidiaries, CVS provides integrated pharmacy health care services in

the United States. CVS offers branded and private-label products in a range of merchandise

categories, including Total Home, its generic line. CVS manufactures through third parties and

sells CVS Total Home Flushable Moist Wipes, CVS Flushable Cleansing Wipes and CVS Ultra

Soft Flushable Cleansing Wipes under its generic brand.

       14.     Defendant Kimberly-Clark is a Delaware corporation headquartered in Dallas,

Texas. Together with its subsidiaries, Kimberly-Clark manufactures and markets personal care,

                                               -5-
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1       Page 7 of 61




consumer tissue, and health care products worldwide. The company operates in four segments:

Personal Care, Consumer Tissue, K-C Professional, and Health Care. Kimberly-Clark

manufactures and sells Flushable Wipes under the following brands: Cottonelle, Scott Naturals

and Pull-Ups.

       15.      Defendant Procter & Gamble is an Ohio corporation headquartered in Cincinnati,

Ohio. Together with its subsidiaries, Procter & Gamble manufactures and sells branded consumer

packaged goods. Procter & Gamble operates through five segments: Beauty Care, Grooming,

Health Care, Fabric & Home Care, and Baby & Family Care. The Baby & Family Care segment

offers baby wipes, diapers, paper towels, tissues, and toilet paper under brand names such as:

Bounty, Charmin, and Pampers. Procter & Gamble manufactures and sells Flushable Wipes under

its Charmin and Pampers Kandoo brands.

       16.      Defendant Target is a Minnesota corporation headquartered in Minneapolis,

Minnesota, and it operates general merchandise stores in the United States.           Target offers

household essentials, hardlines (consisting of music, movies, books, computer software, sporting

goods, toys and electronics), apparel and accessories, food and pet supplies, and home furnishings

and décor. The company manufactures through third parties and sells Flushable Wipes under its

generic, Up&Up brand.

       17.      Defendant Walgreens is an Illinois corporation headquartered in Deerfield, Illinois.

Together with its subsidiaries, Walgreens operates a network of drugstores in the United States. It

provides consumer goods and services, pharmacy, and health and wellness services through

drugstores, as well as through mail, and by telephone and online. Walgreens manufactures through

third parties and sells Flushable Wipes under its self-named, generic brand.

       18.      Defendant Wal-Mart is a Delaware corporation headquartered in Bentonville,

Arkansas, with stores and distribution centers located throughout the United States. The company


                                                -6-
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 8 of 61




is a retail business offering a range of merchandise categories. It offers candy, snack foods,

tobacco, alcoholic and nonalcoholic beverages, and cleaning and institutional supplies; appliances,

electronics, health and beauty aids, hardware, office supplies, toys, seasonal items, and automotive

supplies; and dry and institutionally packaged foods. Wal-Mart manufactures through third parties

and sells Flushable Wipes under the Equate and Great Value brands.

       19.     Defendants, upon becoming involved with the manufacturing, distributing,

advertising, marketing and/or sale of Flushable Wipes, knew or should have known that their

representations regarding Flushable Wipes have been and continue to be false and misleading.

                                JURISDICTION AND VENUE

       20.     The Court has jurisdiction under 28 U.S.C. §1332(d) - the Class Action Fairness

Act of 2005 (“CAFA”) - because the amount in controversy exceeds $5 million exclusive of

interest and costs, and this action is brought as a class action of more than 100 potential Class

members. Moreover, the Court has jurisdiction under CAFA because there is minimal diversity of

citizenship between the Plaintiff and the Defendants.

       21.     The amount in controversy exceeds the $5 million threshold under Section 1332(d)

because the value of the injunctive relief sought would provide at least this much in value to

members of the Classes (defined below).

       22.     This Court also has jurisdiction over this matter, pursuant to 28 U.S.C. §1332(a),

in that the matter in controversy exceeds $75,000, exclusive of interest and costs, and there is

complete diversity of citizenship between the Plaintiff and Defendants.

       23.     Venue properly lies in this District pursuant to 28 U.S.C. §1391(b) and in the

Charleston Division pursuant to Local Civ. Rule 3.01 (D.S.C.), because Plaintiff resides and

Defendants reside, or are found, have their principal place of business, have an agent, or have

transacted substantial business within the District of South Carolina within the meaning of 28


                                               -7-
      2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 9 of 61




U.S.C. §1391(b) and the Charleston Division within the meaning of Local Civ. Rule 3.01 (D.S.C.)

as defined in 28 U.S.C. §1391(c), and because a substantial part of the events giving rise to the

claims alleged herein occurred in the District of South Carolina and the Charleston Division.

                                  FACTUAL ALLEGATIONS

                        Background on the “Flushable” Wipes Industry

       24.     In the mid-1990s, Kimberly-Clark first began selling a form of purportedly

“flushable” wipes. In 2001, The New York Times reported that Kimberly-Clark spent $100 million

to develop a new flushable moistened toilet paper product and had budgeted another $40 million

to market it. At the time, J.P. Morgan Chase analyst commented on the effort, “[y]ou would not

think of this as a category that they could do innovation, and here they are. . . . They are swinging

for a big one here.”4

       25.     The launch of Kimberly-Clark’s Rollwipes flushable product in the early 2000s

triggered competition by branded and private label companies who sought to enter the “flushable”

space.5 While the premoistened wipe-on-a-roll format proved unsuccessful, Kimberly-Clark

reformatted the product as a sheeted wipe in a tub that was “flushable by size.”6 Today, Kimberly-

Clark and the other Defendants endeavor, albeit unsuccessfully, to make their wipes break apart

or disperse naturally, or more commonly, with agitation in water.

       26.     The Flushable Wipes industry is growing at over twice the rate of all nonwovens

and all nonwoven wipes. In 2010, Flushable Wipes accounted for $796 million in sales, increasing



4
       Juliane E. Barnes, Kimberly-Clark to Sell Moistened Toilet Paper, THE NEW YORK
TIMES (Jan. 17, 2001), http://www.nytimes.com/2001/01/17/business/kimberly-clark-to-sell-
moistened-toilet- paper.html.
5
       Key trends driving the Global Flushable Wipes Market, SMITHERS PIRA (Aug. 24,
2017), https://textilesupdate.com/key-trends-driving-the-global-flushable-wipes-market.
6
       Id.

                                                -8-
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1       Page 10 of 61




to $1.4 billion in sales by 2015. Sales were projected to reach $2.7 billion by 2020, indicating that

the market is approximately doubling every five years.7

        27.     However, as the industry continues to grow, a fundamental product flaw has

become more apparent and problematic – Defendants’ Flushable Wipes are not in fact flushable

under any relevant definition or standard. Indeed, they have become “public enemy No. 1 for

sewer systems nationwide.”8

                        Defendants’ Wipes are Unsuitable for Flushing

        28.     The word “flushable” is commonly understood to mean “suitable for disposal by

flushing down a toilet,” meaning that it would not only clear the user’s home plumbing system,

but that it would not harm the downstream sewer system – whether municipal, septic or otherwise.

        29.     Many items have been shown to clear a toilet, and perhaps even a home’s plumbing

system, that are not and should not be labeled as flushable, including golf balls and matchbox

cars.9 Those items are not flushable, because, despite the fact that they might clear a toilet or a

home piping system, they will not break down in the toilet, in the plumbing system, or at any point

in the sewer system. They will clog sewers and arrive intact at pump stations and/or downstream

treatment facilities.




7
        Id.
8
        Stacey    Marquis,      Flushed      But     Not      Forgotten,       WUFT        NEWS,
https://www.wuft.org/specials/water/flushed-but-not-forgotten/ (last visited Dec. 31, 2020).
9
        PlumbersSurplus, American Standard Chamipon4 Flushing Demo, YOUTUBE,
https://www.youtube.com/watch?v=gaWDH16SqVs (last visited on Dec. 31, 2020)
(demonstrating an American Standard toilet’s ability to clear 18 golf balls, at 0:45); MetcraftHET,
Flushing 40 Golf Balls, YOUTUBE, https://www.youtube.com/watch?v=6Tk1I0u0SVs (last
visited on Dec. 31, 2020) (demonstrating an Metcraft HET toilet’s ability to clear 40 golf balls);
105.7 the Point, Will it Flush – Matchbox Cars, YOUTUBE, https://www.youtube.com/watch
?v=xV_1K_znAoE (last visited Dec. 31, 2020) (demonstrating Kohler toilet’s ability to flush
matchbox cars, at 1:58).

                                                -9-
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1       Page 11 of 61




       30.     A product labeled as “flushable” must break apart or disperse in a reasonable

period of time. Defendants’ Flushable Wipes do not break apart or disperse in a reasonable period

of time, resulting in massive continuous damage, as described herein.

       31.     There are multiple definitions for “flushability” and the term “flushable.” They

include:

               (a)    Public testimony in federal litigation by Robert Villée, the Executive

Director of the Plainfield Area Regional Sewerage Authority (“PARSA”) and former chair of the

Water Environment Federation. He stated that for a product to be labeled “flushable,” the “product

should clear the homeowner’s toilet and piping without causing problems and quickly begin to

lose strength and/or disperse so it doesn’t cause problems for either the homeowner []or the

municipal sewer system.”10

               (b)    As part of its Final Consent Order with Nice-Pak Products Inc. in October

2015, the Federal Trade Commission provided guidance that “flushable” means a product must

“disperse[] in a sufficiently short amount of time after flushing to avoid clogging, or other

operational problems in, household and municipal sewage lines, septic systems, and other standard

wastewater equipment.”11

               (c)    The Water Environment Foundation (“WEF”), an international nonprofit

association of approximately 35,000 water quality professionals worldwide, has stated that for a




10
       The testimony was provided in two related cases against flushable wipes manufacturers
pending in the Eastern District of New York: Kurtz v. Kimberly-Clark Corp., et al., No. 1:14-cv-
01142 (JBW)(RML) (E.D.N.Y.) and Belfiore v. Procter & Gamble Co., No. 2:14-cv-04090
(JBW)(RML) (E.D.N.Y.).
11
      In the Matter of Nice-Pak Products, Inc., No. C-4556, (F.T.C. Oct. 30, 2015), Decision and
Order at 3 (the “Consent Order”), available at https://www.ftc.gov/system/files/
documents/cases/151102nice-pakdo.pdf.

                                              - 10 -
     2:21-cv-00042-RMG         Date Filed 01/06/21       Entry Number 1        Page 12 of 61




product to be truly “flushable,” it must be dispersible. In an interview, one of its employees

discussed the term:

       The industry reference for dispersability is two-ply toilet paper . . . [which] starts
       to break apart when the toilet is flushed and is indistinguishable in the wastewater
       system in a matter of seconds. . . . Anything labeled as flushable should start to
       break apart during the flush and completely disperse within 5 minutes. . . . Our
       mantra is, “It’s not flushable if it’s not dispersible.”12

       More than 25 countries and several hundred organizations and municipalities have
       joined together to publish a Nov. 2020 statement regarding so-called flushable
       wipes products, concluding that: (1) only human waste and toilet paper should be
       flushed; (2) “[w]ipes labeled ‘Flushable’ based on passing a manufacturers’ trade
       association guidance document should be labelled ‘Do Not Flush’ until there is a
       standard agreed to by the water and wastewater industry”; (3) any product that
       might be labeled in the future as “flushable” should “pass a technical standard
       [which has been] developed and agreed to by the water and wastewater industry . .
       . [p]referably . . . under the banner of the International Standards Organization
       (ISO)”; and (4) “[k]ey requirements for any standard include that the product:

                      (i)     breaks into small pieces quickly;

                      (ii)    must not be buoyant; and

                      (iii)   does not contain plastic or regenerated cellulose and only contains

materials which will readily degrade in a range of natural environments.”13

       32.     Defendants’ Flushable Wipes do not meet the test set by any of these recognized,

neutral standards.

       33.     To support their flushable claims, some Defendants have attempted to rely on the

fact that many of their products meet guidelines published by “INDA,” the Association of the

Nonwoven Fabrics Industry.       For example, INDA’s second edition guidelines stated that



12
       Jennifer Fulcher, Stop, Don’t Flush That, WATER ENVIRONMENT FEDERATION HIGHLIGHTS
(June 12, 2013), https://news.wef.org/stop-dont-flush-that/.
13
       Water Environment Federation, International water industry position statement on non-
flushable and ‘flushable’ labeled products, https://www.wef.org/globalassets/assets-wef/5---
advocacy/policy-statements/position-statements/international-flushability-statement-jan-
2017.pdf (last visited Dec. 31, 2020).

                                               - 11 -
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 13 of 61




“flushable” wipes needed to be “compatible with existing wastewater conveyance, treatment, reuse

and disposal systems” and “[b]ecome unrecognizable in a reasonable period of time and be safe in

the natural receiving environments.”14 Its third edition guidelines stated that for a product to be

“operationally defined as flushable,” it must: (1) clear toilets and properly maintained drainage

pipe systems when the supplier’s recommended usage instructions are correctly followed; (2) pass

through wastewater conveyance systems and be compatible with wastewater treatment, reuse and

disposal systems without causing system blockage, clogging or other operational problems; and

(3) is unrecognizable in onsite effluent disposal and municipal wastewater treatment systems and

in digested sludge from wastewater treatment plants that are applied to soil.15

       34.     Even under these standards, Defendants’ Flushable Wipes fail, because they do

cause system blockages and clogs and otherwise interfere with the proper conveyance and

treatment of sewage.

       35.     Additionally, INDA was created and is funded by the manufacturers and retailers

of “flushable” products, and its guidelines are fundamentally flawed. Most notably, they do not

address dispersibility. They also fail to replicate real world conditions, exclude independent input

from members of the wastewater community or any independent industry personnel, and allow the

“flushable” products to fail one or more tests without repercussions.

       36.     The fact that Defendants’ Flushable Wipes are not suitable for flushing down a

toilet is also corroborated by the fact that they do not meet other international standards, including




14
       E.g., Manufacturer’s Code of Practice on Communicating Disposal Pathways for Personal
Hygiene Wet Wipes, EDANA at 1 (April 2017), http://www.inda.org/wp-
content/uploads/2013/05/Code-of-Practice-Final-Second-Edition-2017.pdf.
15
        See Guidelines for Assessing the Flushability of Disposable Nonwoven Products, EDANA
Third Edition, (2013), https://www.njwea.org/wp-content/uploads/2014/05/2013-guidelines-for-
assessing-the-flushability-of-disposable-nonwoven-product.pdf.

                                                - 12 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 14 of 61




the published guidelines of the International Water Services Flushability Group (“IWSFG”), which

describes itself as an “international coalition of national and regional wastewater services’

associations, organizations and individual wastewater services.”16

       37.     The IWSFG recently published three specifications for determining “the criteria

that a product should meet to be compatible with being flushed down a toilet.”17 “Publicly

Available Specification (PAS) 1,” establishes five requirements, all of which must be met:

environmental protection; toilet and drain line clearance; disintegration; settling; and

biodisintegration.18    On information and belief, Defendants’ Flushable Wipes violate these

guidelines, which were established directly as a result of the wipe-related crisis many sewer

operators are facing.

       38.     Recent studies further highlight the mislabeling of Flushable Wipes. For example,

the National Association of Clean Water Agencies (“NACWA”) conducted a nationwide study

addressing the cost of wipes in 2019, working closely with other national and state organizations.19

The study was designed to provide conservative estimates of the likely cost of wipes in the United

States at both the national and state levels, and is based on data collected from 25 utilities in 19

states, broadly representative of the population of utilities in the United States. Ultimately,

NACWA estimates that wipes result in about $441 million per year in additional operating costs

in the collection systems of clean water utilities in the U.S. and impose over $30,000 in additional



16
       IWSFG, Publicly Available Specification (PAS) 1: 2020 Criteria for Recognition as a
Flushable Product (Nov. 2020), https://www.iwsfg.org/wp-content/uploads/2020/12/2020-12-01-
IWSFG-PAS-1-Criteria-for-Recognition-as-a-Flushable-Product.pdf.
17
       IWSFG, IWSFG Flushability Specifications (Nov. 2020), https://www.iwsfg.org/iwsfg-
flushability-specification/.
18
       PAS 1, supra note 16 at 8.
19
       The Cost of Wipes on America’s Clean Water Utilities, available at: www.NACWA.org.

                                               - 13 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 15 of 61




collection system operating costs on the average utility per year. In some states, such as California

and New Jersey, with relatively few utilities and high flows, the average utility pays significantly

more. Plaintiff, CWS, has paid in excess of $100,000 to remediate wipes in a single event.

                       Testing Highlights the Lack of Empirical Support
                              for Defendants’ “Flushable” Claims

       39.     Numerous tests demonstrate and confirm that wipes labeled and sold as being

“flushable” and/or safe for sewer systems will not actually break down or dissolve in any sewer

system.

       40.     In a study conducted at Ryerson University in Toronto in 2019, researchers

examined 101 single-use wipes products, including 23 wipes products labeled as “flushable” by

the manufacturer, and found that none of the products fell apart or dispersed enough to safely pass

through an average home’s plumbing system to the public sewer, or through the sewer system for

30 minutes.”20 The research team followed the specifications set out by the International Water

Services Flushability Group (“IWSFG”). Ultimately, they concluded that “it is evident that none

of the products other than bathroom tissue are ‘flushable.’”21

       41.     Consumer Reports performed independent disintegration tests on Flushable Wipes

that simulated toilet flushing conditions. A video clip depicting the tests shows that toilet paper

broke down in about eight seconds, but after ten minutes, the Flushable Wipes did not break down,




20
        See Anum Khan, Barry Orr, Darko Joksimovic, Defining “Flushability” for Sewer Use,
Ryerson University, Final Report, RYAN UNIVERSITY URBAN WATER (Mar. 31, 2019),
https://cwwa.ca/wp-content/uploads/2020/04/Ryerson_flushable_report2019.pdf.
21
       Id. at 16.

                                               - 14 -
     2:21-cv-00042-RMG           Date Filed 01/06/21       Entry Number 1        Page 16 of 61




and still did not break down after being placed in a Kitchen Aid mixer for another ten minutes.22

The video concludes: “Our advice: If you use these products, don’t flush them down the toilet.”23

        42.     CBS4 Miami, after investigating damage caused by Flushable Wipes, hired I-P-S

testing, an independent testing facility, to conduct a slosh box test. I-P-S put toilet paper, Flushable

Wipes and non-flushable wipes through the same slosh box test. After one hour, the toilet paper

was barely visible, but the Flushable Wipes and non-flushable wipes were fully intact. After two

hours, the toilet paper had dispersed completely, the Flushable had “shredded some, but visible

chunks still remain[ed]” and the non-flushable wipes had not changed at all.

        43.     In 2016, the City of Vancouver, Washington conducted a series of “in-sewer” tests

of allegedly “flushable” wipes, dropping them into a manhole and observing their conditions at a

downstream collection point. The study concluded that nearly all flushable wipes currently on

the market in the United States “cannot be considered safe to flush since they travel through

real sewers intact, with no dispersion.”24 The test found Flushable Wipes completely or nearly

completely intact.25

        44.     In a video posted by the WEF, pretreatment technician Tracy Stevens performed a

“spin test” on multiple household products, including: one ply tissue, three ply tissue, regular toilet




22
        Think twice about flushing wet wipes, CONSUMER REPORTS (Dec. 27, 2013),
https://www.consumerreports.org/cro/news/2013/12/think-twice-about-flushing-wet-
wipes/index.htm.
23
        Consumer Reports: Flushable Wipes, EYEWITNESS NEWS https://abc7ny.com/consumer-
reports-plumbing-flushable-wipes-eyewitness-news/29868/ (last visited Dec. 31, 2020).
24
       See Testimony of Cynthia A. Finley, Ph.D., Summary of Field Dispersion Tests,
Attachment B at 9 (Mar. 15, 2017), https://www.nacwa.org/docs/default-source/resources---
public/2017-03-15mdemtest.pdf?sfvrsn=4.
25
        Id. at 11-12.

                                                 - 15 -
     2:21-cv-00042-RMG           Date Filed 01/06/21       Entry Number 1       Page 17 of 61




paper, plush toilet paper and multiple brands of Flushable Wipes.26 The products were placed in

beakers filled with water and a spinning blade to simulate flushing, and only toilet paper dispersed

almost immediately.27 After a few minutes, the Flushable Wipes were still completely intact, with

some cloudiness in the beaker that was attributed to lotion on the wipe.28

       45.       The Orange County Sanitation District also conducted its own test to evaluate the

dispersibility of Flushable Wipes. According to a Staff Report, one sheet of Costco Wholesale

Corporation’s (“Costco’s”) Kirkland Signature Moist Flushable Wipes was placed in a one liter

sized beaker filled with tap water and containing a stir bar, stirring at a speed of 120 rotations per

minute.29 The Orange County Sanitation District found that the wipe did not break down after a

full 24 hours, had remained intact with no change in the wipe’s initial dimensions, and was still

recognizable after such time. The Orange County Sanitation District also evaluated toilet paper

using the same test and found that the toilet paper rapidly dispersed after about 20 seconds. The

Orange County Sanitation District concluded that because wipes are not able to disperse, they

adversely affect sewer systems, lift stations and wastewater treatment plants.30

       46.       INDA’s guidelines for flushability as they relate to the slosh box test allow for the

wipes to undergo far more turbulent conditions than they would typically experience in sewer




26
        Water Environment Federation, Will it Flush? Video, YOUTUBE (Jan. 4, 2012),
http://www.youtube.com/watch?v=SLTVqkXVvNk&feature=youtu.be.
27
       See id.
28
       See id.
29
      Nick Arhontes, P.E., Update on “Flushable but not dispersible,” ORANGE COUNTY
SANITATION DISTRICT (Mar. 17, 2011), https://www.ocsd.com/Home/ShowDocument?id=12438.
30
       Id.

                                                 - 16 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 18 of 61




systems. Quoting a leading wastewater industry official, a New York Times article aptly described

the problem with the manufacturers’ version of the slosh box test:

       Critics say the test, which rocks wipes back and forth in a crate of water, does not
       properly mimic the wastewater system, allowing manufacturers to claim
       flushability for a product that may be too sturdy for treatment systems. The test is
       “a lot more turbulent than the flow that you find in a wastewater pipe,” said
       Cynthia Finley, director of regulatory affairs for the National Association of Clean
       Water Agencies. Flushed materials, she added, generally move “on very gentle
       slopes.”31

                        Plaintiff’s Experience with Defendants’ Wipes

       47.     Plaintiff is, and was at all relevant times, a public water and wastewater utility

serving the Greater Charleston, South Carolina area.

       48.     Plaintiff owns and/or operates two sewage treatment plants, the Plum Island

Wastewater Treatment Plant, its main facility, and the Daniel Island Plant, a pre-treatment facility.

       49.     Plaintiff provides its sewer service through 800 miles of collection mains, 209

wastewater pump stations, and 12 miles of deep tunnels that carry wastewater to the Plum Island

Wastewater Treatment Plant.

       50.     In addition to other expenses incurred related to Flushable Wipes, in October 2018,

Plaintiff incurred unnecessary expenses in connection with major maintenance of its sewage

facilities due to clogs caused by Flushable Wipes. Divers made three separate dives, 90 feet down

into the wet well of the main pump station bringing sewage to the plant, in order to remove a mass

of wipes resulting from residents flushing Flushable Wipes down their toilets.32 The massive 12-




31
       Barnes, supra note 4.
32
       Drew Tripp, ‘Flushable’ Wipes Clog Charleston Water System Pipes Again, and the
Photos are Gross, ABC4 NEWS (June 18, 2019), https://abcnews4.com/news/local/flushable-
wipes-clog-charleston-water-system-pipes-again-and-the-photos-are-gross.

                                               - 17 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 19 of 61




foot long clog of Flushable Wipes put the plant in significant jeopardy of massive sewer overflows

and cost Plaintiff more than $140,000 in damage and cleanup costs.33

       51.     In response, Plaintiff actively addressed the issue on social media, attempting to

inform the public that just because a wipe says it is “flushable,” does not mean that it breaks down

before reaching Plaintiff’s system. Indeed, they do not break down, as evidenced by the blockage.

       52.     Mike Saia, Plaintiff’s communications manager, stated, “all wipes will easily flush

down your toilet, but that’s where the unseen problems begin.”34 He elaborated that problems

occur because as customers flush the wipes, they are often covered in grease, oil, hair and waste,

which coat them in a thick layer of grime and hinder them from breaking down, creating “ropelike

clumps that have incredible strength.” When those clumps reach a choke point, such as a pump at

a wet well in Charleston, they can completely disrupt the system.35

       53.     Despite Plaintiff’s efforts to spread awareness, the issue occurred again in June

2019, with Flushable Wipes blocking pumps in one of Plaintiff’s wastewater processing tanks.

Again, divers made three separate dives into 80-90 feet of sewage to remove the clog.36 The clog

disrupted the sewage system and cost about $60,000 in response costs.37




33
        Ryan Miller, You’re probably using disposable wipes wrong. How to avoid harming the
planet, the sewers, USA TODAY (Sept. 7, 2019), https://www.usatoday.com/story/news/nation
/2019/09/07/disposable-wipes-can-impact-sewers-landfills-waterways-and-health/1777416001/.
34
       See infra note 38.
35
       See infra note 38.
36
       Alissa Holmes, For Second Time, Flushable Wipes Cause Major Clog at Charleston Water
System, LIVE5WCSC (June 19, 2019), https://www.live5news.com/2019/06/19/second-time-
flushable-wipes-cause-major-clog-charleston-water-system/.
37
       See infra note 38.

                                               - 18 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 20 of 61




         54.   Plaintiff anticipates experiencing future clogging and increased costs associated

with operating its sewer treatment plant and removing clogs caused by the buildup of Flushable

Wipes.

         55.   Plaintiff has incurred and anticipates incurring expenses in connection with repairs,

maintenance, and/or other damage to its sewage system, including pump stations and its treatment

plant, and faces the continued threat of further repairs, maintenance and/or other damage caused

by Defendants’ design, manufacturing, marketing, distribution and/or sale of Flushable Wipes.

                    Flushable Wipes Wreak Havoc on Sewers and Sewage
                              Treatment Facilities Worldwide

         56.   According to sewer system officials from across the country, Flushable Wipes

wreak havoc on pumps and machinery in sewers and/or wastewater treatment plants and are a

major reason why wastewater systems clog. Such clogs trigger overflows of untreated sewage to

public and private property as well as waterbodies. Even if Flushable Wipes make it through home

plumbing systems, if they do not fully disintegrated they will inevitably become so comingled and

intertwined that it has been difficult to distinguish one wipe from another.

         57.   Certain STP Operators have purchased and installed grinder pumps, which act like

garbage disposals for tearing up any solid debris flowing through sewage. These grinders are often

ineffective at processing Flushable Wipes because the wipe material or fabric gums-up the

machinery once inside the grinders. Although grinders are capable of tearing through pieces of

wood, Flushable Wipes can defeat them by getting snagged on various parts of the grinder and

building up until the grinder is completely clogged and inoperable.

         58.   Cynthia Finley, Director of Regulatory Affairs for the National Association of

Clean Water Agencies (“NACWA”), commented on the effect of Flushable Wipes on STP

Operators, saying “‘[c]onsumers are being told by the packaging that these things are flushable’”

and “[a]lthough the material might make it through the toilet and the pipes leading away from the

                                               - 19 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1         Page 21 of 61




house, they tend to clog up once in the sewer system. . . . That can cause huge headaches for the

utilities.”38 According to Finley, the problem is occurring “‘all over the country.’”39

North Carolina

       59.     In Raleigh, North Carolina, costly sewer overflows and backups are predominately

caused by Flushable Wipes, according to the city’s environmental coordinator for wastewater,

Marti Gibson.40 As a result, Raleigh now has an ordinance prohibiting the flushing of anything

except human waste, toilet paper and water.41

       60.     In February 2017, Raleigh’s public utilities department attributed the clogging of a

sewage pipe that caused an “estimated 39,000 gallons of raw sewage to spill into an unnamed

tributary of Crabtree Creek” to flushing Flushable Wipes.42 Given that INDA headquarters are 12

miles away in Cary, North Carolina, INDA President David Rousse sent an unsolicited email to

the city Public Utilities Director “decrying the city’s assessment that flushable wipes were at fault,”

without any evidence to support his claim.43




38
        Kirsti Marohn, Wipes in the pipes snarling sewers, USA TODAY (July 17, 2013),
http://www.usatoday.com/story/news/nation/2013/07/16/wipes-pollution/2522919/.
39
       Id.
40
       Id.
41
       Id.
42
       Richard Stradling, City blames ‘flushable wipes’ for sewage clog, THE NEWS &
OBSERVER (Feb. 7, 2017), http://www.newsobserver.com/news/local/counties/wake-
county/article131194829.html.
43
        Richard Stradling, Are flushable wipes really flushable? Raleigh says no, THE NEWS &
OBSERVER (Feb. 21, 2017), http://www.newsobserver.com/news/local/counties/wake- county/
article134022739.html (“‘This is a convenient scapegoat to blame to meet the public reporting
needs, but it is likely not the correct diagnosis.’”).

                                                - 20 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 22 of 61




       61.     The Public Utilities Assistant Director, T.J. Lynch, responded to David Rousse’s

email later that day by stating, “[w]e have no reason to make up stories about what we are finding

in our collections systems across the country. . . . But we do have a duty to let our customers know

why their environment is being impacted and why their rates are going up.”44 This dispute was

aptly summarized in The News & Observer report as follows:

       The email exchange highlights a national conflict between the wipes industry and
       sewage utilities. The industry claims it has developed products that do sufficiently
       break apart when flushed down the toilet. The utilities say the wipes remain intact
       long enough to get caught up in pipes and pump stations; they say they often
       become magnets for grease and oils that also get improperly washed down the drain
       to create what those in the sewage business call “fatbergs” that gum up pipes.

                                         *       *       *

       Lynch says he’s been to visit INDA and that INDA representatives have come to
       the public utilities department, without producing any real mutual understanding.45

New York

       62.     New York City reportedly spends a staggering $18.8 million per year to “degrease

the sewers, deal with damage caused by sewer backups, and repair our plant equipment that has

been damaged by non-flushable items (like wet wipes) and transport those items to landfill.”46 The

City directly warns the public against the directed use of Flushable Wipes and states that it can

cost between $10,000 and $15,000 to repair a sewer line.

       63.     Deputy Commissioner Vincent Sapienza of the New York Department of

Environmental Protection (“D.E.P.”) has stated, “‘[t]he increase in clogs and problems we’ve been




44
       Id.
45
       Id.
46
        Trash it. Don’t Flush it., NEW YORK CITY ENVIRONMENTAL PROTECTION,
https://www1.nyc.gov/site/dep/whats-new/trash-it-dont-flush-
it.page?utm_source=FB&fbclid=IwAR39RXn1VE6ku-dzLbfdqZXa0uE5scaO_-CIZrPR-
PETTvxw5ffpw8kEcyA (last visited Dec. 31, 2020).

                                               - 21 -
     2:21-cv-00042-RMG          Date Filed 01/06/21          Entry Number 1     Page 23 of 61




having in New York City – it seems to almost correlate directly with the increase in sales of these

flushable wipes. . . . They make it all the way to the plant and they just wrap themselves around

our equipment.’”47

       64.     The amount of debris removed from New York City’s treatment plants – 110,000

cubic yards worth – is nearly double the amount removed 5 years ago, coinciding with the growing

increase in popularity of Flushable Wipes.48

       65.     Carter Strickland, commissioner of the New York City Department of

Environmental Protection, when interviewed about the problem flushable wipes are causing, told

New York Magazine: “You can safely say [it’s costing us] millions of dollars.”49

Pennsylvania

       66.     Andrew Jantzer, General Manager of wastewater facilities at York City Wastewater

Treatment Plant in Pennsylvania, stated that “[t]he issues with flushable wipes and other products

that aren’t toilet paper, are that they don’t break down. Toilet paper turns into mush when it gets

wet, everything else stays as it is.”50 Jantzer continued:

       At our plant we have a five foot pipe that comes in and all of the sewage comes in
       that pipe. The first thing it does is goes through these giant rakes, and it rakes out
       all of the flushable products that have not broken down. The more we can get out
       at the head of the plant the better. It causes a lot of havoc throughout the rest of the
       plant if it makes it through. It clogs the pumps and channels and all kinds of tanks
       and other things that we have at the treatment plant.51



47
       Id.
48
       Id.
49
        Christopher Bonanos, Public Enemy No. 2, NEW YORK MAGAZINE (Oct. 4, 2013),
http://nymag.com/news/intelligencer/flushable-wipes-2013-10/.
50
         Flushable Wipes Clogging Pipes, TODAY NEWS GAZETTE (Nov. 18, 2013),
http://todaynewsgazette.com/flushable-wipes-clogging-pipes/.
51
       Id.

                                                - 22 -
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1        Page 24 of 61




       67.     The Pennsylvania Department of Environmental Protection has also warned

recently that Flushable Wipes should not be flushed as instructed, and stated that there has been

an increase in reports of sewage treatment facilities dealing with clogs since the beginning of the

COVID-19 stay-at-home orders in March, 2020. The Lower Bucks County Joint Municipal

Authority said that they recently “experienced a sanitary sewer main blocked entirely by

‘flushable’ wipes.”52

Georgia

       68.     In Columbus, Georgia, John Peebles, Senior Vice President of Water Resource

Operations at Columbus Water Works, commented on the enormous amount of money Flushable

Wipes have cost the city and consumers, stating, “[h]ere in Columbus, we’re seeing a real increase

in the number of man hours it takes to go and service these pumps. . . . We’re looking at probably

over 500 man hours annually and a cost of over $100,000 a year in pulling those pumps, and

repairing those pumps, and putting them back into service.”53 The problem, Peebles says, is

“‘[flushable wipes] make their way down the sewer system to our pump, and clog our pump before

they break down.’”54




52
        Increase In Sewer Blockages Reported Since Stay-At-Home Order Started, LEVITTOWN
NOW (May 3, 2020), http://levittownnow.com/2020/05/03/increase-in-sewer-blockages-reported-
since-stay-at-home-order-started/.
53
      Flushable wipes may be costing Columbus Water Works customers extra money,
WTVM.COM (Dec. 11, 2013), https://www.wtvm.com/story/24182046/flushable-toilet-wipes-
may-be-costing-columbus-money/.
54
       Id.

                                              - 23 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1       Page 25 of 61




        69.      To combat the clogs, the city of Columbus installed two devices to cut up debris

before it can clog pumps at a total cost of $250,000.55 Peebles estimates the cost of dealing with

clogging caused by Flushable Wipes is “‘maybe half a million dollars this year.’”56

Florida

        70.      A spokesperson for Indian River County in Florida said that an increase in required

maintenance of the wastewater pumps was, at least in part, attributed to people flushing things that

should not be flushed. The wrong paper products, even those labeled as flushable, attach to solids

and clog the gravity system on their way to the pump stations, which causes backups of the pump

stream. The cost is simple as a couple of hours of a mechanic to get to the pump, shut it down and

get the debris out. However, if the entire pump needs to be replaced, the cost is much higher. A

Port St. Lucie Facebook post pleads people to throw wipes away: “septic tanks, grinder or STEP

systems, and gravity systems are all susceptible to clogs and backups because of wipes: Please

help us maintain the integrity of our sewer system and always throw wipes away, even if they say

“flushable.”57

Texas

        71.      According to Orlandos Spencer, a station operator with the City of Lufkin, Texas,

Flushable Wipes are “‘technically not flushable. But, I mean, people flush them anyway. The




55
        Id.
56
        Id.
57
        Cheryl Smith, Toilet paper alternatives clogging sewer systems; don’t flush even
‘flushable’    wipes,     TREASURE      COAST      NEWSPAPERS         (Mar.      27,     2020),
https://www.tcpalm.com/story/news/        local/2020/03/27/toilet-paper-substitutes-clog-sewer-
system-don’t-flush-flushables/292601500/.

                                                - 24 -
     2:21-cv-00042-RMG           Date Filed 01/06/21     Entry Number 1       Page 26 of 61




reason they’re not flush-able is because they don’t dissolve.’”58 In Rockwall, Texas, officials

have stated that clogs caused by Flushable Wipes: “require the City’s wastewater crews to shut

down the pumps and manually remove the blockages in order to prevent wastewater from backing

up into houses, businesses, and the environment. Removing these blockages can be not only time

consuming, but costly to the City.”59

           72.   In San Antonio, Texas, where there is over 9,000 miles of sewer line to keep clog-

free, San Antonio Water System (“SAWS”) Communications Director Anne Hayden stated:

“Ignore the flushable label, because it’s not . . . It adds additional layers of cleanup we already

have to do to our pipes. People have to go out in the summer heat and manually extract the buildup

and it’s not pleasant.”60 SAWS crews remove three to five tons of debris, enough to fill a 15-foot-

long dump truck with debris, per day. Joshua Trent, a member of a four-person SAWS crew,

explained that when Flushable Wipes get stuck in the sewer system, they “make it easier for items

. . . to become lodged in siphon boxes.”61

Illinois

           73.   In Germantown Hills, Illinois, Rich Brecklin, the Public Works Director, blames

Flushable Wipes for clogging up village pumps. Brecklin said the reason for the clog is simple:




58
        Khyati Patel, Using ‘flushable’ wipes? Reconsider what clogs up the sewer, ABC 9 KTRE
(Jan. 17, 2017), https://www.ktre.com/story/34282102/using-flushable-wipes-reconsider-what-
clogs-up-the-sewer/.
59
       Texans Reminded Flushable Wipes Are Not Really Flushable And Shown The
Consequences, CBS LOCAL NEWS (Mar. 17, 2020), https://dfw.cbslocal.com/2020/03/17/texas-
flushable-wipes-not-really-flushable-sewer-systems/.
60
       Sam Peshek, ‘Flushable’ wipes clean everything but sewers, SAN ANTONIO EXPRESS NEWS
(Aug. 11, 2013), http://www.expressnews.com/news/local/article/Flushable-wipes-clean-
everything-but-sewers-4724397.php#/6.
61
           Id.

                                               - 25 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 27 of 61




the wipes that are labeled flushable are not flushable. “‘They’re not flushable in a gravity system;

they’re not flushable in a septic system; and they are especially not flushable in ejection pumps or

grinder pump systems,’” explained Brecklin to Peoria, Illinois’ Journal Star.62

       74.      Brecklin also stated, “‘[i]f you look at these disposable wipes – some say

disposable, some say flushable – if you notice, they’re thicker. They’re woven tighter, and they’re

already wet and not falling apart. . . . They don’t go away. They may make it down to the sewer

plant on a gravity system, and then you’ve got problems at the plant.’”63

Michigan

       75.      Some cities, like Grand Rapids, Michigan, have tried to deal with the problem by

educating their citizens and asking them not to flush Flushable Wipes. Grand Rapids officials sent

out a mass mailing to homeowners reminding them “‘no wipes in the pipes.’”64 One public

education mailer sent out to Grand Rapids homeowners stated, “[c]onvenience wipes such as baby,

hygienic, cleaning and disinfectant, as well as toilet bowl scrubbers and even paper towels might

be labeled as ‘disposable or flushable’ but these items should not go down the drain. Products like

these do not break down in the sewer system. They can cause plugs in sewer pipes and pumps and

result in sewage backups, costly cleanups and environmental consequences that can cause rate

increases.”65




62
      Laura Nightengale, Sanitary wipes causing mess for Germantown Hills sewer system,
JOURNAL STAR (Jan. 30, 2014), http://www.pjstar.com/article/20140130/NEWS
/140139881/10924/NEWS.
63
       Id.
64
       Marohn, supra note 38.
65
        Environment Tip #3, Disposable, Not Flushable, CITY OF GRAND RAPIDS,
https://www.grandrapidsmi.gov/Government/Departments/Environmental-
Services/Environmental-Tips#section-3 (last visited Dec. 31, 2020).

                                               - 26 -
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1       Page 28 of 61




       76.     In 2020, Macomb County said that it had been removing 4,000 pounds of wipes a

week at one pump station. Candice Miller, the Public Works Commissioner, blamed the problem

on so-called flushable wipes failing to break down.66

California

       77.     In California, the blockages caused by Flushable Wipes are becoming increasingly

costly for sewer districts. Nicholas Arhontes of the Orange County Sanitation District stated in an

interview with CBS News, “[w]hen we see things on package labeling like ‘breaks down after

flushing,’ we are really concerned about that because we see in our tests that they do not break

down.”67

       78.     The Orange County Sanitation District – the third largest wastewater treatment

agency in California – had 971 “de-ragging” maintenance calls on ten pump stations in 2010 to

2011 costing the Orange County Sanitation District $320,000 in labor costs.68 Over a more recent

five year period, the Orange County Sanitation District spent $2.4 million to unclog pumps.69

       79.     Moreover, Tyrone Jue, Director of Communications for the San Francisco Public

Utilities Commission, has stated that the City of San Francisco has spent over $4 million a year to



66
       Not-so-flushable wipes cause big spill in northern Michigan town, THE DETROIT NEWS
(Oct. 17, 2020), https://www.detroitnews.com/story/news/local/michigan/2020/10/17/baby-
wipes-sewage-spill-beulah/114428928/.
67
        Flushable wipes not so flushable?, CBS NEWS.COM                      (Sept.   24,   2013),
http://www.cbsnews.com/videos/flushable-wipes-not-so-flushable/.
68
       See Nick J. Arhontes PE, Wastewater utilities take aim at wet wipes, PUBLIC WORKS
(Oct. 15, 2012), http://www.pwmag.com/wastewater/strangled-by-disposables.aspx.
69
        Sharon Verbeten, Toilets Are Not Trashcans, Says NACWA, MUNICIPAL SEWER &
WATER (Feb. 1, 2016), http://www.mswmag.com/online_exclusives/2016/02/toilets_are_not_
trashcans_says_nacwa;see also Cynthia A. Finley, Ph.D., Toilets Are Not Trashcans‼,
NATIONAL ASSOCIATION OF CLEAN WATER AGENCIES (Aug. 2, 2016),
http://74.91.206.132/2016%
20CFinley%20Wipes.pdf.

                                              - 27 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 29 of 61




clean out “fatbergs,” which have been described as “a congealed mass of flushable wipes combined

with cooking oil and gunk.”70

        80.     California’s Water Board warns that anything other than toilet paper will “clog

sewers and cause backups and overflows at wastewater treatment facilities.” The Water Board

advises consumers not to flush anything other than toilet paper down the toilet and instead to throw

them in the trash because the wastewater treatment plants may get overwhelmed with consumers

having plumbing backups and blockages.71

        81.     The San Francisco Public Utilities Commission published a video and a flyer about

what not to flush down toilets: “Toilets are not trashcans! Think Before You Flush.” The flyer

lists the top five things that should not be flushed, having flushable wipes as number one in the

list: “The biggest headache for our wastewater treatment plants! Wipes are NOT biodegradable,

and have to be manually removed from the equipment at our wastewater treatment plants and sent

to the landfill.”72

Washington

        82.     In Vancouver, Washington, officials estimated that they have spent over $1 million

replacing three large sewer pumps and eight smaller sewer pumps that were constantly being

clogged.73



70
        Barnes, supra note 4.
71
       Coronavirus: State Water Board Warns ‘Flushable’ Wipes Could Clog Sewer Systems,
CBSN LOS ANGELES (Mar. 18, 2020), https://losangeles.cbslocal.com/2020/03/18/
coronavirus-flushable-wipes-warning-sewer-system-clogs/.
72
         Toilets are not trashcans!, SAN FRANCISCO WATER                         POWER      SEWER,
https://sfwater.org/index.aspx?page=151 (last visited Dec. 31, 2020).
73
       Carolyn Thompson, What a bummer! ‘Flushable’ wipes blamed for sewer woes, THE
ASSOCIATED PRESS (Sept. 24, 2013), http://www.today.com/money/what-bummer-flushable-
wipes- blamed-sewer-woes-4B11235939.

                                               - 28 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1        Page 30 of 61




       83.     Frustrated with problems caused by Flushable Wipes, Vancouver sewer officials

conducted their own experiment which involved “placing selected wipes in buckets of dye water

(tie-dye works best), letting the wipes soak overnight, mixing the contents vigorously and then

placing them in a sewer line manhole adjacent to a major interceptor, about a mile from

Vancouver’s Westside treatment plant.”74 The result was that Flushable Wipes had “little rips and

tears but still they were intact” said Frank Dick, engineering supervisor for sewer and wastewater

services in Vancouver. Dick stated: “‘I haven’t found any single product that’s (labeled) flushable

that’s acceptable.’”75

       84.     Vancouver conducted similar testing in 2016 and, as discussed above, concluded

that “flushable wipes currently on the market in the U.S., with one possible exception, cannot be

considered safe to flush since they travel through real sewers intact, with no dispersion.”76

Massachusetts

       85.     The town of Lexington, Massachusetts identified that flushing wipes – even if they

are labeled as “flushable” or “septic-safe” – caused and continues to cause damage to sewer

systems, warning that such wipes do not disintegrate like toilet paper.77



74
       In the Dyeing World of Wipes – Vancouver Puts Their Hands On Them, NATIONAL
ASSOCIATION OF CLEAN WATER AGENCIES (Sept. 4, 2013), http://blog.nacwa.org/in-the-
dyeing-world-of-wipes- vancouver-puts-their-hands-on-them/.
75
        Eric Apalategui, Toilet trouble for Portland? Disposable wipes clog region’s sewer pipes,
THE             OREGONIAN/OREGONLIVE                       (Mar.            13,           2014),
http://www.oregonlive.com/portland/index.ssf
/2014/03/flushable_wipes_wreck_havoc_on.html.
76
       Finley, supra note 24.
77
       Wipes Labeled as “flushable” Can Cause Damage to Sewer Systems, TOWN OF
LEXINGTON, MA (Apr. 13, 2020), https://www.lexingtonma.gov/water-and-sewer/news/wipes-
labeled-%E2%80%9Cflushable%E2%80%9D-can-cause-damage-sewer-
systems#:~:text=Wipes%20
can%20damage%20sewer%20systems,midst%20of%20the%20coronavirus%20pandemic.

                                               - 29 -
     2:21-cv-00042-RMG            Date Filed 01/06/21       Entry Number 1      Page 31 of 61




Iowa

        86.     The Water Pollution Control Facility in the city of Ottumwa, Iowa says that wipes

that are sold as “flushable” are in fact not flushable for the city’s sewer pipes. Flushable wipes

causes cities to spend thousands of dollars on premature equipment repair and replacement. Wipes

can snag on sewer pipes, catch passing debris and grease, and create a “ball” that will grow to

eventually plug the pipe. The so-called flushable wipes get drawn into sewer lines and wastewater

treatment plant pumps and clog and damage the pumps.78

Maryland

        87.     In Rockville, Maryland, local news station ABC7 reported that the Washington

Suburban Sanitary Commission (“WSSC”) crews, which oversee 5,400 miles of Montgomery and

Prince George’s Counties sewer lines, blamed a clump of disposable wipes for a sewer line

blockage that caused 15,810 gallons of raw sewage to spill out of a manhole and into a small creek

on March 1, 2014.79 Lyn Riggins, a WSSC spokeswoman, stated that Flushable Wipes are a “huge

problem” and, while holding up a wipe stated, “[t]his is not flush-able. . . . This is probably a good

couple of miles that it’s traveled and this wipe is still fully intact.”80

        88.     Stressing how pervasive this problem is, ABC7 News reported that a WSSC

pumping station fills, on average, an oversized dumpster with two tons of sanitary wipes twice a

week.81 The cost of ensuring blockages do not occur, according to the reports, ultimately falls on




78
       Flushable Wipes Causing Problems in Sewer Pipes, O! CITY OF OTTUMWA (Mar. 17,
2020), https://www.ottumwa.us/news/_flushable_wipes_causing_problems_in_sewer_pipes/.
79
       Kevin Lewis, Wipes wreak havoc on Montgomery Co. sewer lines, ABC7 WJLA (Mar. 10,
2014), https://wjla.com/news/local/wipes-wreak-havoc-on-montgomery-co-sewer-lines-100999.
80
        Id.
81
        Id.

                                                  - 30 -
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 32 of 61




the taxpayer. WSSC alone has spent an estimated $1.4 million installing grinders – described as

industrial-sized garbage disposals – at 17 of its 49 pumping stations.82 Riggins stated: “‘It’s

expensive for us to install this equipment, and ultimately our ratepayers have to pay for it.’”83

       89.     Flushable Wipes are also causing major issues in Ocean City, Maryland. Jim

Parsons, Chief Deputy Director of Ocean City’s Public Work Department says that although

Flushable Wipes may appear to flush just like toilet paper, “‘when it gets in there, it doesn’t act

like it.’”84 Mr. Parsons said “‘the problem has worsened in recent years[, w]hich is why, a couple

years ago, the town had to purchase a basket-system to remove the loads of wipes.’”85

       90.     Pete Jones of Ocean City said that he has to “constantly rake out baskets full of

flushed wipes to keep the pumping stations flowing.”86 Mr. Jones explained, “‘[t]hat’s a full 5-

gallon bucket worth, and I get that on the average twice a week to three times a week . . . [i]t keeps

building up and building up . . . It clogs the pumps, it clogs the pipeline but it just doesn’t break

down. [i]t clogs everything up.’”87

Hawaii

       91.     In Honolulu, Hawaii, Jesse Broder Van Dyke, a spokesperson for Honolulu Mayor

Kirk Caldwell, described the problems with Flushable Wipes, saying: “‘[t]he wipes clog sewer




82
       Id.
83
       Id.
84
      Delmarvanow.com: Too Many Wipes in Ocean City Pipes, RURAL COMMUNITY
ASSISTANCE PARTNERSHIP (Aug. 8, 2013), https://www.rcap.org/delmarvanow-com-too-
many-wipes-in-ocean-city-pipes/.
85
        ‘Flushable’ Wipes Clog Ocean City Pipes, Cause Headache, WBOC 16 (July 28, 2013),
http://www.wboc.com/story/22952048/flushable-wipes-cause-problems-for-sewer- system.
86
       Id.
87
       Id.

                                                - 31 -
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1       Page 33 of 61




lines, pump stations and treatments plants.’”88 Markus Owens, a Honolulu Department of

Environmental Services spokesperson, added, “‘[t]hese wipes also contribute to recurring

problems at our pumping stations; they do not break down, and create additional work for our

crews who have to repeatedly remove them on a monthly or weekly basis.’”89

        92.    Jesse Broder Van Dyke, a spokesperson for Honolulu, Hawaii Mayor Kirk

Caldwell, stated: “The wipes clog sewer lines, pump stations and treatments plants.”90 Markus

Owens, a Honolulu Department of Environmental Services spokesperson, stated: “These wipes

contribute to recurring problems at our pumping stations; they do not break down, and create

additional work for our crews who have to repeatedly remove them on a monthly or weekly

basis.”91

                         Defendants Misrepresent Their Wipes as
                   “Flushable” in Marketing Materials and on Packaging

Defendant Costco

        93.    Kirkland Signature Moist Flushable Wipes are marketed and sold by Defendant

Costco. The packaging depicts, in large letters, “flushable wipes,” and the Costco website states

that “these wipes pass extensive testing for flushability and are proven, when flushed one wipe at

a time, to pass through a home’s well-maintained toilet and drain lines or septic system without




88
        Manjari Fergusson, New Age Toilet Paper Clogging Hanolulu’s Sewer Pipes, Causing
Headaches,        HONOLULU            CIVIL         BEAT          (Oct.      1,       2013),
https://www.civilbeat.org/2013/10/20030-new-age-toilet-paper-clogging-honolulus-sewer-pipes-
causing-headaches/.
89
        Id.
90
        Id.
91
        Id.

                                              - 32 -
     2:21-cv-00042-RMG         Date Filed 01/06/21     Entry Number 1       Page 34 of 61




clogging.”92 Costco also states that its “flushable” wipes are made with “EcoFlush technology”

and are “safe for well-maintained sewers and septics.”93 Specifically, that “these wipes are also

proven to pass through sewer systems and are compatible with wastewater treatment plants.”94

       94.    Below are representations of recent packaging of Kirkland Signature Moist

Flushable Wipes containing “flushable” and other representations:




92
       Available at: https://www.costco.com/kirkland-signature-moist-flushable-wipes%2C-632-
wipes.product.100350650.html (last visited Dec. 31, 2020).
93
       See infra note 98.
94
       See infra note 98.

                                             - 33 -
     2:21-cv-00042-RMG        Date Filed 01/06/21     Entry Number 1       Page 35 of 61




Defendant CVS

       95.    Defendant CVS’s Total Home “Flushable Moist Wipes” claim to “break[] apart

when flushed,” and be “Hydraspun dispersible,” and “safe for sewer and septic systems.”95

       96.    CVS “Flushable Cleansing Wipes” and CVS “Flushable Cleansing Cloths” claim

that they are “safe for well-maintained sewer and septic systems.” 96 CVS’s “Flushable Cleansing

Wipes” also claim that they are “made with Advanced Flushable Technology[] from 100% plant-

based materials.”




95
      Available at: https://www.cvs.com/shop/total-home-flushable-moist-wipes-refill-prodid-
1010729 (last visited Dec. 31, 2020).
96
      Available at: https://www.cvs.com/shop/cvs-health-flushable-cleansing-wipes-prodid-
843837 (last visited Dec. 31, 2020).

                                             - 34 -
     2:21-cv-00042-RMG         Date Filed 01/06/21     Entry Number 1   Page 36 of 61




       97.     Below are representations of recent packaging of CVS-branded flushable wipes

containing “flushable” and other representations:




                                              - 35 -
     2:21-cv-00042-RMG        Date Filed 01/06/21     Entry Number 1      Page 37 of 61




Defendant Kimberly-Clark

       98.    Defendant Kimberly-Clark describes its Scott and Cottonelle-branded flushable

products on its website, including Scott Flushable Wipes, Cottonelle FreshCare Flushable Wipes,

Cottonelle Gentle Plus Flushable Wipes, Cottonelle Extra Large Flushable Wipes, and Cottonelle




                                            - 36 -
      2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1        Page 38 of 61




Flushable Wipes (for kids).97 On its website, Kimberly-Clark states that its Cottonelle and Scott

flushable wipes use “our patented SafeFlush Technology,” and that “these innovative products are

engineered to rapidly lose strength as soon as they are flushed.”98 Additionally, Kimberly-Clark

states that its Scott and Cottonelle flushable products “exceed the requirements of widely accepted

industry guidelines for flushability and will clear properly functioning toilets and drain-lines, and

are compatible with sewers, pumps, and septic and municipal treatment systems.”99

       99.     Cottonelle Flushable Wipes are also described as “designed for toilets and tested

with plumbers, so you can rest assured that they are sewer and septic safe, and immediately start

to break down after flushing.”100

       100.    Below are representations of recent packaging of Kimberly-Clark Cottonelle

Flushable Wipes and Scott Flushable Cleansing Cloths containing “flushable” and other

representations:




97
         Available at: https://www.kimberly-clark.com/en/brands/ingredients/consumer/cottonelle
(last visited Dec. 31, 2020).
98
        Available at: https://www.kimberly-clark.com/en/news/media-resources/safe-to-flush (last
visited Dec. 31, 2020).
99
       See infra note 104.
100
        Available at: https://www.cottonelle.com/en-us/products/cottonelle-flushable-wipes (last
visited Dec. 31, 2020).

                                               - 37 -
      2:21-cv-00042-RMG        Date Filed 01/06/21     Entry Number 1     Page 39 of 61




Defendant Procter & Gamble

       101.   Charmin Flushable Wipes, manufactured by Defendant Procter & Gamble, are

marketed as “flushable and safe for your sewer or septic system.”101

       102.   Below is a representation of recent packaging of Procter & Gamble Charmin

Flushable Wipes containing “flushable” and other representations:




101
       Available at: https://www.charmin.com/en-us/shop-products/flushable-wipes (last visited
Dec. 31, 2020).

                                              - 38 -
      2:21-cv-00042-RMG         Date Filed 01/06/21       Entry Number 1        Page 40 of 61




Defendant Target

       103.    Defendant Target claims that its Up&Up Toddler and Family Flushable Wipes are

flushable and “safe for sewer and septic systems.”102 Specifically, Target states that “[t]hey’re

made with Advanced Flushable Technology® and 100% plant-based materials that are free of

chemical binders,” ensuring that “[y]ou can feel confident flushing one wipe at a time” and

purporting that its flushable wipes “clean [] better than dry toilet paper alone.”103

       104.    Below is a representation of recent packaging of Target Up&Up Flushable Toddler

Wipes containing “flushable” and other representations:




102
      Available at: http://www.target.com/p/up-wipes-432ct-toddler/-/A-13991458#prodSlot=
medium_1_3 (last visited Dec. 31, 2020).
103
       Id.

                                                - 39 -
      2:21-cv-00042-RMG        Date Filed 01/06/21      Entry Number 1       Page 41 of 61




Defendant Wal-Mart

       105.    Defendant Wal-Mart purports that its Great Value Flushable Wipes “are flushable

and septic safe with most septic systems.”104 Wal-Mart also claims that its Equate Flushable Wipes

“easily break apart after flushing, reducing the chance for blockages in waste management

systems.”105

       106.    Below are representations of recent packaging of Wal-Mart Equate and Great

Value-branded Flushable Wipes containing “flushable” and other representations:




104
       Available at: https://www.walmart.com/ip/Great-Value-Flushable-Wipes-Fresh-Scent-42-
Ct-3-Pack/37306566 (last visited Dec. 31, 2020).
105
      Available at: https://www.walmart.com/ip/Equate-Fresh-Scent-Flushable-Wipes-3-pack-
144-count/873057 (last visited Dec. 31, 2020).

                                              - 40 -
      2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1        Page 42 of 61




Defendant Walgreens

       107.    Defendant Walgreens’ Flushable Cleansing Wipes claim to be “flushable.”106

       108.    Below is a representation of recent packaging of Walgreens Flushable Cleansing

Wipes containing “flushable” and other representations:




                    Premoistened Non-Flushable Wipes Intended to Be
                  Thrown in the Trash Should Be Labeled as Non-flushable

       109.    Premoistened, non-woven disposable wipes that are not designed to be flushed

should be labeled clearly and conspicuously with the phrase “Do Not Flush” and a related symbol,

to send a clear message to consumers that most wipes are not suitable for flushing. The failure to

do so exacerbates the problems suffered by STP Operators due to consumer confusion about which

types of wipes, often marketed alongside one another, are suitable for flushing.

       110.    The non-flushable products include: (1) premoistened nonwoven disposable wipes

marketed as baby wipes or diapering wipes, and (2) premoistened nonwoven disposable wipes that

are (a) composed entirely of or in part of petrochemical-derived fibers, and (b) likely to be used in

a bathroom and have significant potential to be flushed, including baby wipes, bathroom cleaning

wipes, toilet cleaning wipes, hard surface cleaning wipes, disinfecting wipes, hand sanitizing




106
       Available at: https://www.walgreens.com/store/c/walgreens-flushable-cleansing-wipes-7-
x-5/ID=prod6405377-product (last visited Dec. 31, 2020).

                                               - 41 -
      2:21-cv-00042-RMG        Date Filed 01/06/21      Entry Number 1       Page 43 of 61




wipes, antibacterial wipes, facial and makeup removal wipes, general purpose cleaning wipes,

personal care wipes for use on the body, feminine hygiene wipes, adult incontinence wipes, adult

hygiene wipes, and body cleansing wipes.

       111.    Manufacturers, wholesalers, suppliers, retailers, and any other entity responsible

for labeling such wipes should comply with “Do Not Flush”, or similar, labeling options, while

ensuring that the symbol and/or label notice is unobscured and has sufficiently high contrast with

the immediate background of the packaging to render it likely to be seen and read by the ordinary

individual under customary conditions of purchase and use.

           The Federal Trade Commission (“FTC”) is Not Actively Investigating
                            the “Flushable” Wipes Industry

       112.    Upon information and belief, the only investigation or inquiry by the FTC that has

been closed with formal resolution pertains to the product manufactured by Nice-Pak and sold by

Costco between 2011 and 2014.

       113.    Based upon publicly available information, the FTC opened investigations and/or

inquiries into retailers’ and manufacturers’ advertising claims associated with so-called

“flushable” products in or about early 2014.107

       114.    On May 18, 2015, the FTC served a complaint on Nice-Pak, alleging that Nice-Pak

violated the FTC Act, 15 U.S.C. §§41 et seq., by misrepresenting that the iteration of its wipes

described as “moist toilet tissue” composed of “non-woven fabric, specifically non-elemental

chlorine bleached wood pulp, bicomponent fibers, and EP907 repulpable binder,” which were sold




107
       See, e.g., Letter Regarding Similar Flushable Wipes Cases at 2, Kurtz v. Kimberly-Clark
Corp., et al., No. 1:14-cv-01142 (JBW)(RML) (E.D.N.Y. Nov. 14, 2016), ECF No. 256; see also,
Letter Notifying Court the FTC Concluded Its Investigation of the Kimberly-Clark Corporation,
Kurtz v. Kimberly-Clark Corp., et al., No. 1:14-cv-01142 (JBW)(RML)(E.D.N.Y. July 15, 2016),
ECF No. 228 (discussing closing of investigation).

                                              - 42 -
      2:21-cv-00042-RMG         Date Filed 01/06/21       Entry Number 1        Page 44 of 61




from 2011 to 2014, were: 1) safe for sewer systems; 2) safe for septic systems; 3) capable of

breaking apart shortly after being flushed; and 4) safe to flush.108

       115.    According to the FTC, whatever tests were used and performed by Nice-Pak, its

retailers, or anyone on their behalf, to substantiate those representations did not reflect real world

household plumbing or septic conditions.

       116.    Based upon publicly available information, the FTC complaint was based solely on

a prior – no longer marketed or sold – version of Nice-Pak’s so-called “flushable” product,

manufactured by Buckeye. The iterations differ based largely on the “substrate” (i.e., the raw

materials or “base sheet” associated with the flushable products) which forms the basis for the

flushable products.109

       117.    The Buckeye iteration was manufactured from 2011 through at least 2013, and was

discontinued in early 2014. A different iteration, manufactured by Sigma in early 2014, used a

modified formula and was created in an attempt to improve their performance given the knowledge

that the previous product did not break down.

       118.    On October 30, 2015, the FTC issued the final Consent Order with Nice-Pak.

       119.    The Consent Order defined “flushable” as “disperses in a sufficiently short amount

of time after flushing to avoid clogging, or other operational problems in, household and municipal




108
        See Complaint at 1-2, In the Matter of Nice-Pak Products, Inc., No. C-4556, (F.T.C., Oct.
30, 2015), available at: https://www.ftc.gov/system/files/documents/cases/151102nice-
pakcmpt.pdf; see also Press Release, Wet Wipe Manufacturer Agrees To Substantiate
“Flushability” Advertising Claims under Settlement with FTC, (May 18, 2015), available at:
https://www.ftc.gov/news-            events/press-releases/2015/05/wet-wipe-manufacturer-agrees-
substantiate-flushability. The FTC “issues an administrative complaint when it has ‘reason to
believe’ that the law has been or is being violated, and it appears to the Commission that a
proceeding is in the public interest.” Id.
109
       Memorandum & Order Certifying Class Actions, Kurtz v. Kimberly-Clark Corp., et al.,
No. 1:14-cv-01142 (JBW)(RML) (E.D.N.Y. Mar. 27, 2017), ECF No. 297.

                                                - 43 -
      2:21-cv-00042-RMG        Date Filed 01/06/21      Entry Number 1         Page 45 of 61




sewage lines, septic systems, and other standard wastewater equipment” and provided

recommendations for what is considered an accurate means for substantiating representations

about wipes’ dispersability.

       120.    According to the Consent Order, when marketing, labeling and/or making any

“flushable” or related representations, Nice-Pak must possess and rely upon:

       [C]ompetent and reliable evidence, which, when appropriate based on the expertise
       of professionals in the relevant area must be competent and reliable scientific
       evidence, that, when considered in light of the entire body of relevant and reliable
       evidence, is sufficient in quantity and quality based on standards generally accepted
       in the relevant fields to substantiate that the representation is true.110

       121.    Under the Consent Order, any tests, analyses, research, studies, or other evidence

purporting to substantiate any of the above representations must:

       A.    demonstrate that the Covered Product disperses in a sufficiently short
       amount of time after flushing to avoid clogging, or other operational problems in,
       household and municipal sewage lines, septic systems, and other standard
       wastewater equipment; and

       B.     substantially replicate the physical conditions of the environment in which
       the Covered Product is claimed, directly or indirectly, expressly or by implication,
       to be properly disposed of; or, if no specific environment is claimed, then in all
       environments in which the product will likely be disposed of.111

       122.    The Consent Order also required Nice-Pak to notify all of its customers,

wholesalers and retailers that manufactured or advertised its Flushable Wipes products to

“immediately stop using all packaging, advertising, and marketing materials previously provided

to [them] by Nice-Pak about these wipes.”112




110
       Consent Order at 2.
111
       Id. at 3.
112
       Id. at 7 (Attachment A).

                                               - 44 -
      2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1       Page 46 of 61




        123.    The Consent Order concluded that Nice-Pak’s Buckeye product: (1) should not

have been labeled as “flushable;” (2) should not have been labeled as “safe for sewer or septic

systems;” and (3) should not have represented that it “breaks apart shortly after flushing.”

        124.    However, the Consent Order did not address or establish: (1) testing protocols that

must be followed; (2) how often any testing must be performed, if ever; (3) which independent

third party or parties can be used for testing; or (4) any enforcement mechanisms for products that

fail testing (e.g., penalties, re-labeling, or removal from retail shelves).

        125.    The FTC did not – explicitly or implicitly – permit or prohibit any other iteration

of wipes to be marketed or sold as flushable.

        126.    In the years following the issuance of the Consent Order, the FTC has not acted to

prevent other companies from misrepresenting their wipes as “flushable,” and has not stepped in

to regulate the industry. Based on publicly available information, the FTC does not plan to open

any investigations related to flushable products or create enforcement mechanisms targeted at

mislabeled flushable products.

        127.    On July 27, 2016, the FTC stated, that it does not intend to prescribe trade

regulation rules in relation to flushability issues.113 The FTC refers to its Consent Order with Nice-

Pak for guidance on the Commission’s views regarding representations of “flushability.”

Because the FTC has not shown an interest in this subject matter since 2015 and has even expressly

declined to act, judicial resolution of Plaintiff’s claims are both necessary and appropriate.

                                CLASS ACTION ALLEGATIONS

        128.    Plaintiff brings this action pursuant to Federal Rules of Civil Procedure 23(a) and

(b)(2) individually and as a class action on behalf of the following proposed classes:




113
        Belfiore v. Procter & Gamble Co., 311 F.R.D. 29 (E.D.N.Y. 2015).

                                                 - 45 -
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1          Page 47 of 61




       South Carolina STP Operators Class: All STP Operators in South Carolina in
       whose systems Defendants’ Flushable Wipes are flushed.

       Nationwide STP Operators Class: All STP Operators in the United States in whose
       systems Defendants’ Flushable Wipes are flushed.

       129.    The South Carolina STP Operators Class and the Nationwide STP Operators Class

are referred to herein as the “Classes.” Upon completion of discovery with respect to the scope of

the Classes, Plaintiff reserves the right to amend the Class definitions. Excluded from the Classes

are Defendants, their parents, subsidiaries and affiliates, directors and officers, and members of

their immediate families. Also excluded are any entities in which Defendants have a controlling

interest and any of the legal representatives, heirs, or assigns of Defendants.

       130.    The South Carolina STP Operators Class and Nationwide STP Operators Class are

referred to herein as the “Classes,” and members of those classes are referred to herein as “Class

members.”

       131.    Numerosity: The Classes are so numerous that joinder of all individual members is

impracticable. While the exact number and identities of members of the Classes are unknown to

Plaintiff at this time and can only be ascertained through appropriate discovery, upon information

and belief, Plaintiff alleges that the Classes are comprised of thousands of individual members

geographically disbursed throughout the United States. The number of Class members and their

geographical disbursement renders joinder of all individual members impracticable if not

impossible.

       132.    Commonality: There are questions of fact and law common to members of the

Classes including, inter alia, the following:

               (a)     whether Defendants mislabel their Flushable Wipes so as to have consumers

believe that their Flushable Wipes will not cause harm to sewer systems in their area;

               (b)     whether Defendants’ business practices violate South Carolina law;


                                                - 46 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1       Page 48 of 61




               (c)     whether Defendants knew or should have known that the labeling on their

Flushable Wipes was false, misleading or deceptive when issued;

               (d)     whether Defendants mislead consumers into believing that flushing their

Flushable Wipes will not have adverse effects on sewer systems;

               (e)     whether Defendants sell, distribute, manufacture or market Flushable Wipes

in South Carolina and nationwide that are in fact flushable;

               (f)     whether Defendants’ Flushable Wipes are safe for sewer systems; and

               (g)     whether Plaintiff and Class members are entitled to injunctive relief.

       133.    Typicality: Plaintiff’s claims are typical of the Class members it seeks to represent.

Plaintiff and all other Class members are likely to sustain similar future injuries, namely, clogging

of their sewers or septic systems caused by Flushable Wipes, arising out of Defendants’ common

course of conduct as described herein.

       134.    Adequacy: Plaintiff will fairly and adequately protect the interests of the Classes

because Plaintiff’s claims correspond with the claims of the other Class members. Plaintiff is

willing and able to vigorously prosecute this action on behalf of the Classes, and Plaintiff has

retained competent counsel experienced in litigation of this nature.

       135.    Plaintiff brings this action under Rule 23(b)(2) because:

               (a)     the prosecution of separate actions by individual Class members would

create a risk of inconsistent or varying adjudication with respect to individual Class members that

would establish incompatible standards of conduct for Defendants;

               (b)     the prosecution of separate actions by individual Class members would

create a risk of adjudications with respect to them that would, as a practical matter, be dispositive

of the interests of other Class members not parties to the adjudications, or substantially impair or

impede their ability to protect their interests; and/or


                                                 - 47 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1       Page 49 of 61




                (c)      Defendants have acted or refused to act on grounds generally applicable to

the Classes, thereby making final declaratory and/or injunctive relief with respect to Class

members as a whole appropriate.

        136.    The undersigned counsel for Plaintiff and the Classes request that the Court appoint

them to serve as Class counsel; first on an interim basis and then on a permanent basis pursuant to

Federal Rule of Civil Procedure 23(g). Undersigned counsel will fairly and adequately represent

the interests of the Classes; have identified or investigated the Classes’ potential claims; are

experienced in handling class actions, other complex litigation, and claims of the type asserted in

the action; know the applicable law; will commit sufficient resources to represent the Classes; and

are best able to represent the Classes.

                                             COUNT I

                                              Nuisance

        137.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs

as if fully set forth herein.

        138.    Plaintiff and Class members have property rights and privileges in their sewer lines,

pump stations, lift stations, wastewater treatment plants and/or waste disposal equipment described

herein, including those that have been and/or will be impaired by Flushable Wipes.

        139.    The nuisance conditions caused, contributed to, maintained, assisted and/or

participated in by Defendants substantially and unreasonably interfere with, obstruct and/or disturb

Plaintiff and Class members’ rights to use and enjoy their sewer lines, pump stations, lift stations,

wastewater treatment plants and/or waste disposal equipment.

        140.    Defendants’ wrongful actions, as alleged herein, have interfered with Plaintiff and

Class members’ rights and property interests and their use and enjoyment of those rights and

interests by causing clogs. Once Flushable Wipes travel through sewer systems and sewage


                                                - 48 -
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1        Page 50 of 61




treatment plants, they comingle, causing them to become fungible and facilitating/causing

blockages.

       141.    The wrongful activity of the Defendants, as alleged herein, results in excessive,

unnecessary, and costly maintenance and repairs. This includes additional proactive maintenance

and the installation of expensive systems such as grinder pumps in an effort to reduce the impacts

of Flushable Wipes. Thus, the nuisance conditions caused, contributed to, maintained, assisted

and/or participated in by Defendants have resulted in significant harm to Plaintiff and Class

members’ sewer lines, pump stations, lift stations, wastewater treatment plants and/or waste

disposal equipment.

       142.    The clogging of Plaintiff and Class members’ sewer lines, pump stations, lift

stations, wastewater treatment plants and waste disposal equipment alleged herein has varied and

continues to vary over time.

       143.    Each Defendant causes, maintains, assists and/or participates in such nuisance, and

is a substantial contributor to such nuisance.

       144.    Defendants, each of whom supplies, designs, manufactures, markets, distributes,

delivers and/or otherwise sells Flushable Wipes that are used, discharged, disposed of or otherwise

flushed into Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater

treatment plants and/or waste disposal equipment, engage in affirmative conduct, namely labeling

the wipes as “flushable,” that causes, contributes to, maintains and/or assists in the creation of the

nuisance alleged herein.

       145.    Each Defendant was or should have been aware that the flushing of Flushable

Wipes would result in, among other harms, significantly clogging of sewer lines, pump stations,

lift stations, wastewater treatment plants and waste disposal equipment.




                                                 - 49 -
     2:21-cv-00042-RMG           Date Filed 01/06/21        Entry Number 1      Page 51 of 61




        146.    As a direct and proximate result of Defendants’ actions as alleged herein, Plaintiff

and Class members’ sewer lines, pump stations, lift stations, wastewater treatment plants and waste

disposal equipment are clogged by buildups of Flushable Wipes as they continuously comingle

and accumulate to form blockages. As a direct and proximate result of Defendants’ acts and

omissions as alleged herein, Plaintiff and Class members will continue to incur costs and expenses

related to the investigation, treatment, remediation and monitoring of problems due to the flushing

of Flushable Wipes.

                                             COUNT II

                                                 Trespass

        147.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs

as if fully set forth herein.

        148.    Plaintiff and Class members own, possess and actively exercise their rights to

appropriate and use their sewer lines, pump stations, lift stations, wastewater treatment plants

and/or waste disposal equipment described herein, including those that have been and will be

clogged by Flushable Wipes.

        149.    It is Defendants’ intention when manufacturing and selling Flushable Wipes that

the public flush them down their toilets, and they actively encourage customers to flush them by

labeling    them    as    “flushable,”   “safe    for   sewer   and   septic   systems,”   or   other

invitations/representations of flushability. This conduct is the actual and proximate cause of

Flushable Wipes’ invasion into Plaintiff and Class members’ property, including sewer lines,

pump stations, lift stations wastewater treatment plans and other waste disposal equipment owned

and/or operated by Plaintiff and Class members. The damage to Plaintiff and Class members’

property is the direct result of Defendants’ intentional conduct.

        150.    By designing wipes that do not disperse in a reasonable amount of time and

encouraging consumers to flush them, Defendants are each a substantial factor causing the ongoing
                                            - 50 -
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1       Page 52 of 61




damage to Plaintiff and Class members’ property, and each is jointly responsible for the injuries

and damage being caused by the following affirmative conduct:

               (a)    Defendants participate in the improper flushing of Flushable Wipes by

intentionally instructing consumers about the purportedly proper disposal methods for Flushable

Wipes, including instructing users to dispose of Flushable Wipes directly into the toilet and

intentionally, recklessly, and/or negligently calibrating, designing and manufacturing Flushable

Wipes in such a manner which cause them to be routinely flushed into toilets. As a result of this

activity, Flushable Wipes clog Plaintiff and Class members’ sewer lines, pump stations, lift

stations, wastewater treatment plants and/or waste disposal equipment, and otherwise intrude upon

and affect Plaintiff and Class members’ possessory interests;

               (b)    Defendants intentionally instruct consumers about the disposal of their

Flushable Wipes through product labels; advertisements funded, published, and distributed by

Defendants; and through other literature. Defendants recommended and continue to recommend

that Flushable Wipes be flushed down the toilet notwithstanding that Defendants know or should

know that Flushable Wipes clog sewer lines, pump stations, lift stations, wastewater treatment

plants and waste disposal equipment, posing a significant problem for Plaintiff and Class members.

As a result, when Flushable Wipes were and are disposed of in toilets pursuant to the techniques

recommended by Defendants, they clog and otherwise intrude upon and damage Plaintiff and Class

members’ property;

               (c)    At all relevant times Defendants: (1) knew and/or reasonably should have

known, and continue to know, that Flushable Wipes cause property damage; and (2) had either not

conducted adequate testing to determine the potential effects Flushable Wipes had on plumbing

and sewer systems or unreasonably interpreted any such testing they had conducted. Even though

Defendants had sufficient information to determine that Flushable Wipes posed a threat to properly


                                              - 51 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1       Page 53 of 61




functioning sewer lines, pump stations, lift stations, wastewater treatment plants and waste

disposal equipment, they did not modify their disposal instructions or provide the appropriate

advice, instruction or information to consumers regarding proper disposal and use needed to avoid

build up and clogging of said sewer lines, pump stations, lift stations, wastewater treatment plants

and waste disposal equipment; and

                (d)      Defendants knew or should have known that Flushable Wipes clog sewer

lines, pump stations, lift stations, wastewater treatment plants and waste disposal equipment.

Defendants instructed, requested and/or induced these acts (and continue to do so) and are a

substantial factor in causing the resulting harm to Plaintiff and Class members’ possessory

interests, and further aid and abet this conduct.

        151.    The damage done to Plaintiff and Class members’ sewer lines, pump stations, lift

stations, wastewater treatment plants and/or waste disposal equipment alleged herein has varied

and continues to vary over time.

        152.    Plaintiff and Class members have not consented to, and do not consent to, the

invasion of their property by Flushable Wipes. Based on Plaintiff and other class members’ public

statements and requests for the public to stop flushing Flushable Wipes, Defendants know or

reasonably should know that Plaintiff and Class members do not consent to this trespass.

        153.    As a direct and proximate result of Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater treatment

plants and waste disposal equipment are damaged by Flushable Wipes, causing Plaintiff and Class

members to incur investigation, treatment, remediation and monitoring costs and expenses.

                                            COUNT III

                            Strict Products Liability – Defective Design

        154.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs

as if fully set forth herein.
                                                - 52 -
     2:21-cv-00042-RMG            Date Filed 01/06/21      Entry Number 1     Page 54 of 61




          155.   Each Defendant designs, manufactures, formulates, packages, distributes,

promotes, markets and/or sells Flushable Wipes products designed and/or marketed to break up

and be safe for use in household and public sewer conveyance and treatment systems.

          156.   Consumers use Flushable Wipes in a reasonably foreseeable manner and without

substantial change in the condition of such products.

          157.   Because Flushable Wipes do not conform to the definition of “flushable,” they are

unreasonably dangerous and unfit for their intended use. Defendants knew, or should have known,

that the use of Flushable Wipes in their intended manner results in the clogging and disruption of

sewer lines, pump stations, lift stations, waste disposal equipment, and wastewater treatment

plants.

          158.   Defendants’ products, which are flushed down toilets and then enter Plaintiff’s

septic system, are defective in design and unreasonably dangerous, are not designed or adequately

designed to break down, and therefore are mislabeled as “flushable.” Defendants’ wet wipes result

in the direct or indirect harm to Plaintiff and Class members’ sewer lines, pump stations, lift

stations and wastewater treatment plants because: (a) Defendants did not focus on dispersability

when designing their Flushable Wipes, thus ignoring the only definition of “flushable” that would

make the wipes “safe for sewer and septic systems;” and (b) Defendants’ design of their Flushable

Wipes products causes them to comingle and become fungible as they flow through a sewer

system, making them a significant or primary cause of clogging and disruption of sewer lines,

pump stations, lift stations and wastewater treatment plants owned and/or operated by Plaintiff and

Class members.

          159.   At all times relevant to this action, including presently:

                 (a)    Defendants were aware of the typical waste and disposal practices resulting

from the intended use of their Flushable Wipes products;


                                                 - 53 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 55 of 61




               (b)     Defendants were aware of the extended time needed for Flushable Wipes to

break down. Despite such knowledge, Defendants intended their Flushable Wipes to be used in

such a manner that would result in clogs and disruptions of sewer systems, pump stations, lift

stations and wastewater treatment plants;

               (c)     Defendants should not have labeled the products as “flushable” because

they failed to design their Flushable Wipes products to appropriately break down, causing a

continuous problem for pipes, sewers, treatment plants, pumps and/or other wastewater or sewage

equipment;

               (d)     Defendants knew, or should have known, of appropriate redesigns and/or

modifications to protect against the clogging associated with flushing anything stronger than toilet

paper, especially a tightly woven wet wipe, down the toilet. Defendants negligently and/or

consciously disregarded this knowledge and failed to redesign and/or modify the Flushable Wipes;

               (e)     Defendants represented to consumers and the general public that the

Flushable Wipes products they sold would degrade into harmless substances and would not cause

clogging or other harm to sewer lines, pump stations, lift stations and wastewater treatment plants.

At the time these representations were made, Defendants knew, or should have known, these

representations were false, misleading, and/or that there was no reasonable basis to believe that

they were true; and

               (f)     Flushable Wipes cause clogging of the sewer lines, pump stations, lift

stations and wastewater treatment plants owned and/or operated by Plaintiff and Class members

when they are used and disposed of by consumers pursuant to Defendants’ recommended

application and disposal procedures set forth on product packaging, advertisements, oral

statements and other means of communication.




                                               - 54 -
     2:21-cv-00042-RMG         Date Filed 01/06/21      Entry Number 1       Page 56 of 61




               (g)    The Flushable Wipes manufactured by Defendants are defective products,

are not designed to break down, and therefore are mislabeled as “flushable,” because, among other

things: (1) Defendants’ Flushable Wipes cause extensive damage to the plumbing of sewer lines,

pump stations, lift stations and wastewater treatment plants; (2) the continued use of Defendants’

Flushable Wipes poses a significant threat to private and public waste disposal systems; (3)

Defendants fail to provide adequate warnings of the known and foreseeable risk of the use of

Flushable Wipes; and (4) Defendants fail to conduct adequate scientific studies to evaluate the

effects of flushing Flushable Wipes on sewer lines, pump stations, lift stations and wastewater

treatment plants.

       160.    The above-described defects in Defendants’ Flushable Wipes product existed when

the Flushable Wipes left Defendants’ possession, and still exist today.

       161.    Defendants’ Flushable Wipes are and will continue to be harmful to an extent

beyond that which would be contemplated by the ordinary consumer. The risk of harm to sewer

lines, pump stations, lift stations and wastewater treatment plants posed by Flushable Wipes

outweighs and will continue to outweigh the cost to the Defendants of reducing or eliminating

such risk.

       162.    As a direct and proximate result of the defects alleged herein, certain of Plaintiff

and Class members’ sewer lines, pump stations, lift stations and wastewater treatment plants have

been clogged with Flushable Wipes and will likely be clogged again.

       163.    As a direct and proximate result of the Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members will incur investigation, treatment, remediation and

monitoring costs and expenses related to the effect of Flushable Wipes on Plaintiff and Class

members’ sewer lines, pump stations, lift stations and wastewater treatment plants.




                                              - 55 -
     2:21-cv-00042-RMG           Date Filed 01/06/21      Entry Number 1        Page 57 of 61




        164.    Plaintiff is informed, believes and alleges that as a further direct and proximate

result of the acts and omissions of Defendants alleged herein, Plaintiff and Class members will

sustain substantially increased expenses and loss of the use of their sewer lines, pump stations, lift

stations, wastewater treatment plants and waste disposal equipment, causing them significant

injury and damage. Plaintiff and Class members are also entitled to costs and prejudgment interest

as permitted by law.

        165.    Defendants acted and continue to act maliciously, wantonly, recklessly and with

conscious disregard of the known risks of injury to others, including Plaintiff and Class members.

                                            COUNT IV

                            Strict Products Liability – Failure to Warn

        166.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs

as if fully set forth herein.

        167.    Defendants design, manufacture, formulate, promote, market and/or distribute

Flushable Wipes products.

        168.    Defendants’ Flushable Wipes are used by consumers in a reasonably foreseeable

manner and without substantial change in the condition of such products, and Defendants know

that consumers purchase and use Flushable Wipes without inspection for defects.

        169.    Defendants are aware that the use of Flushable Wipes purchased or otherwise

acquired (directly or indirectly) from them would result in their Flushable Wipes being flushed

down toilets and subsequently entering sewer lines, pump stations, lift stations, wastewater

treatment plants and waste disposal equipment owned and/or operated by Plaintiff and other Class

members.

        170.    Defendants knew or should have known that if their Flushable Wipes did not break

down quickly enough, significant clogging of Plaintiff and Class members’ sewer lines, pump


                                                - 56 -
     2:21-cv-00042-RMG          Date Filed 01/06/21       Entry Number 1       Page 58 of 61




stations, lift stations, wastewater treatment plants and waste disposal equipment occurs, making

the product unreasonably dangerous.

        171.    Despite the known and/or foreseeable risk of clogging sewer lines, pump stations,

lift stations, wastewater treatment plants and waste disposal equipment associated with the use of

Flushable Wipes, Defendants fail to provide adequate warnings to consumers and other users or to

take any other precautionary measures to mitigate those hazards.

        172.    Defendants fail to describe such dangers or provide any precautionary statements

regarding such hazards in the labeling of their Flushable Wipes products.

        173.    As a direct and proximate result of Defendants’ failure to warn of the dangers posed

by flushing Flushable Wipes, certain of Plaintiff and Class members’ wastewater equipment have

been and will continue to be clogged by Flushable Wipes.

        174.    As a direct and proximate result of the Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members incur investigation, treatment, remediation and monitoring

costs and expenses related to the clogging of sewer lines, pump stations, lift stations, wastewater

treatment plants and waste disposal equipment by Flushable Wipes.

                                            COUNT V

                                            Negligence

        175.    Plaintiff repeats and realleges the allegations contained in all preceding paragraphs

as if fully set forth herein.

        176.    Defendants have a duty to use due care in the design, manufacturing, formulation,

handling, control, disposal, sale, labeling, and instructions for use and disposal of Flushable Wipes

to prevent clogging of Plaintiff and Class members’ sewer lines, pump stations, lift stations,

wastewater treatment plants, and/or waste disposal equipment with Flushable Wipes.

        177.    Defendants negligently, carelessly, and recklessly design, manufacture, formulate,

handle, label, instruct, control, market, promote and/or sell Flushable Wipes products and/or
                                              - 57 -
     2:21-cv-00042-RMG          Date Filed 01/06/21      Entry Number 1       Page 59 of 61




negligently recommend disposal techniques for Flushable Wipes products. As a result, they

directly and/or proximately cause Plaintiff and Class members’ sewer lines, pump stations, lift

stations, wastewater treatment plants, and/or waste disposal equipment to become clogged by

Flushable Wipes.

       178.    As a direct and proximate result of Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members’ sewer lines, pump stations, lift stations, wastewater treatment

plants, and waste disposal equipment become clogged after Flushable Wipes enter sewer systems

and sewage treatment plants.

       179.    As a direct and proximate result of Defendants’ acts and omissions as alleged

herein, Plaintiff and Class members incur costs and expenses related to the clogging of sewer lines,

pump stations, lift stations, wastewater treatment plants and waste disposal equipment caused by

Flushable Wipes, including costs and expenses associated with unclogging, investigating, treating,

remediating and monitoring such clogs and otherwise maintaining sewage systems free from the

buildup of Defendants’ Flushable Wipes.

       180.    For the reasons set forth and specifically alleged above, Defendants are acting

maliciously, wantonly, recklessly and with conscious disregard of the known risks of injury to

others, including Plaintiff and Class members.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of itself and all others similarly situated, prays for relief

and judgment against Defendants as follows:

       A.      An order certifying the Classes under the appropriate provisions Federal Rule of

Civil Procedure 23, as well as any appropriate subclasses, and appointing Plaintiff as a

representative of the Classes and the undersigned counsel as Lead Counsel to represent the Classes;

       B.      An order declaring Defendants’ practices to be improper, unfair, unlawful and/or


                                               - 58 -
     2:21-cv-00042-RMG           Date Filed 01/06/21       Entry Number 1        Page 60 of 61




deceptive;

       C.        An order enjoining Defendants from marketing and selling their Flushable Wipes

as “flushable” until their labeling is truthful or otherwise not deceptive;

       D.        An order enjoining Defendants from marketing and selling their Flushable Wipes

as being safe for sewer systems until their labeling is truthful or otherwise not deceptive;

       E.        An order enjoining Defendants from marketing and selling their Flushable Wipes

as being biodegradable until their labeling is truthful or otherwise not deceptive;

       F.        An order enjoining Defendants from marketing and selling their Flushable Wipes

as capable of breaking down during or after flushing until their labeling is truthful or otherwise

not deceptive;

       G.        An order seeking appropriate labeling changes to Defendants’ non-flushable

products to avoid confusion and further damage to the Classes;

       H.        An order for pre- and post-judgment interest to the Classes, as allowed by law;

       I.        An order for reasonable attorneys’ fees and costs to counsel for the Classes if and

when pecuniary and non-pecuniary benefits are obtained on behalf of the Classes; and

       J.        Granting such other and further relief as is just and proper.

                                          JURY DEMAND

       Plaintiff hereby demands a trial by jury.

DATED: January 6, 2021                             AQUALAW PLC
                                                   F. PAUL CALAMITA (ID #12740)




                                                                F. PAUL CALAMITA




                                                 - 59 -
2:21-cv-00042-RMG   Date Filed 01/06/21   Entry Number 1     Page 61 of 61




                                  6 South Fifth Street
                                  Richmond, VA 23219
                                  Telephone: 804/716-9021
                                  804/716-9022 (fax)
                                  paul@aqualaw.com

                                  ROBBINS GELLER RUDMAN
                                    & DOWD LLP
                                  SAMUEL H. RUDMAN
                                  MARK S. REICH
                                  VINCENT M. SERRA
                                  SARAH E. DELANEY
                                  58 South Service Road, Suite 200
                                  Melville, NY 11747
                                  Telephone: 631/367-7100
                                  631/367-1173 (fax)
                                  srudman@rgrdlaw.com
                                  mreich@rgrdlaw.com
                                  vserra@rgrdlaw.com
                                  sdelaney@rgrdlaw.com

                                  Attorneys for Plaintiff




                                - 60 -
